
54 N.Y.2d 792 (1981)
In the Matter of Charles Berbenich, Appellant,
v.
Edward V. Regan, as Comptroller of the State of New York, et al., Respondents.
Court of Appeals of the State of New York.
Decided September 15, 1981.
Gerald G. Cowen for appellant.
Robert Abrams, Attorney-General (Joseph J. Micare of counsel), for respondents.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On summary consideration, judgment affirmed, with costs, for the reasons stated in the memorandum at the Appellate Division.
